                 Case: 1:25-mj-00338-KLL Doc #: 13 Filed: 04/22/25 Page: 1 of 1 PAGEID #: 34
           Case: l:25-mj-00338-KLL *SEALED* Doc #: 5 Filed: 04/16/25 Page: 1 of 2 PAGEID #: 15
AO 442 (Rev. 11/11) Arrest Warrant



                                         United States District Court
                                                                  for the

                                                        Southern District of Ohio


                  United States of America
                                 V.

                                                                             Case No. 1:25-mj-338



                    James River PHILLIPS

                            Defendant


                                                       ARREST WARRANT

To:      Any authorized law enforcement officer                                                                          '

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        James River PHILLIPS

who is accused of an offense or violation based on the following document filed with the court:

□ Indictment              □ Superseding Indictment           □ Information      □ Superseding Information               W(Complaint
□ Probation Violation Petition               □ Supervised Release Violation Petition        □ Violation Notice          □ Order of the Court

This offense is briefly described as follows:
  Possession of an Unregistered Firearm (Destructive Device) - 26 U.S.C. 5841, 5861, and 5871




Date:    Apr 16, 2025                                                        Karen L. Litkovitz
                                                                             United States Magistrate Jud^]
City and state:       Cincinnati, Ohio


                                                                  Return


           This warrant was received on (ifo/e) A pr /^.j.Zc"3S , and the person was arrested on                               17^ 2CZS
at (city and state) ^ C1 Vj ^ Q k ' TJ                    ■
Date: Apr I7^p.gzs-
                                                                                       'j Arr^itdig officer's signature
                                                                             El?!      Tn
                                                                                              Printecftiame
                                                                                              f'-intecri    and title
